                           Case 14-50333-gs               Doc 29         Entered 03/25/14 07:57:52            Page 1 of 2



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                Entered on Docket
            ___________________________________________________________________
               5March 25, 2014
                     6   ALAN R. SMITH, ESQ.
                         Nevada Bar No. 1449
                     7   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797                                                               ELECTRONICALLY LODGED
                     8   Law Offices of Alan R. Smith                                                           March 24, 2014
                         505 Ridge Street
                     9   Reno, Nevada 89501
                         Telephone (775) 786-4579
                 10      Facsimile (775) 786-3066
                         E-mail: mail@asmithlaw.com
                 11
                         Attorney for Debtors
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                 13
                 14                                        UNITED STATES BANKRUPTCY COURT
                 15                                                      DISTRICT OF NEVADA
                 16                                                               —ooOoo—
                 17      In Re:                                                                Case No. BK-N-14-50333-BTB
                 18      ANTHONY THOMAS and                                                    Chapter 11
                         WENDI THOMAS,
                 19                                                                            ORDER SHORTENING TIME FOR
                                             Debtors,                                          NOTICE AND HEARING ON
                 20                                                                            DEBTOR’S MOTION FOR
                                                                                               AUTHORITY TO PAY ORDINARY
                 21                                                                            MONTHLY LIVING EXPENSES
                                                                                               NUNC PRO TUNC
                 22      __________________________________/
                 23                The Court having considered the Debtors’ Ex Parte Motion For Order Shortening
                 24      Time For Notice And Hearing On Debtors’ Motion For Authority To Pay Ordinary
                 25      Monthly Living Expenses Nunc Pro Tunc, and good cause appearing therefor, it is hereby
                 26                ORDERED that the Motion For Order Shortening Time is granted, and the hearing
                 27      to consider approval of the Motion For Authority To Pay Ordinary Monthly Living
                 28                                                        April 4
                         Expenses Nunc Pro Tunc shall be conducted on ______________________________,
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\Thomas\Mot Pay Expenses\Ord MOST Mot Pay Expenses 032414-dlg.wpd
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                     1            2:00   p
                         2014 at _________.m. Any opposition may be filed and served upon Debtors’ attorney
                     2   by facsimile, email or personal delivery no later than
                     3       March 31
                         ______________________________, 2014. Replies may be filed and served no later
                     4           April 2
                         than ____________________________, 2014. Service of this Order Shortening Time
                     5   For Notice And Hearing On Debtors’ Motion For Authority To Pay Ordinary Monthly
                     6                                                         March 25
                         Living Expenses Nunc Pro Tunc shall be completed by _______________________,
                     7   2014.
                     8   PREPARED AND SUBMITTED BY:
                     9   LAW OFFICES OF ALAN R. SMITH
                 10      By:     /s/ Holly E. Estes
                           HOLLY E. ESTES, ESQ.
                 11        Attorney for Debtors
                 12                                                                    ###
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